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Civil Action No.: 1:16-CV—10613-JCB
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)
This summons for (name of individual and title, if any) U.S. Department of Education

was received by me on (date) March 30,2016

O) I personally served the summons on the individual at (place)

 

on (date) ; or

 

 

Cl I left the summons at the individual's residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

“i T served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

Cl J returned the summons unexecuted because ; or

On March 30. 2016, I sent the summons and complaint by certified mail, return
Other (specify) : receipt requested, to the following entities: the U.S. Attorney for the District of
Massachusetts, the U.S. Attorney General, and the U.S. Department of Education.

My fees are $ for travel and $ for services, for a total of $
I declare under penalty of perjury that this information is true.

an aa
March 30, 2016 rbd) I~

Date ~ Server's Signature

Crystal Kayiza, Legal Assistant, American Civil Liberties Union
Printed name and title

 

ACLU, 125 Broad St., 18th FL, New York, NY 10004
Server's Address

 

Additional information regarding attempted service, etc:
